Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 1 of 16 Pageid#:
                                   3202




                    EXHIBIT 1
  Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 2 of 16 Pageid#:
                                     3203



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA BLAIR, TYLER MAGILL, APRIL
     MUNIZ, HANNAH PEARCE, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, and JOHN DOE,

                                   Plaintiffs,


     JASON KESSLER, RICHARD SPENCER,
     CHRISTOPHER CANTWELL, JAMES
     ALEX FIELDS, JR., VANGUARD
     AMERICA, ANDREW ANGLIN,                              Civil Action No. 3:17-cv-00072-NKM
     MOONBASE HOLDINGS, LLC, ROBERT
     "AZZMADOR" RAY, NATHAN DAMIGO,
     ELLIOT KLINE a/k/a/ ELI MOSLEY,
     IDENTITY EVROPA, MATTHEW                               PLAINTIFFS’ [CORRECTED]
     HEIMBACH, MATTHEW PARROTT a/k/a                       FIRST SET OF REQUESTS FOR
     DAVID MATTHEW PARROTT,                                PRODUCTION OF DOCUMENTS
     TRADITIONALIST WORKER PARTY,                             TO ALL DEFENDANTS
     MICHAEL HILL, MICHAEL TUBBS,
     LEAGUE OF THE SOUTH, JEFF SCHOEP,
     NATIONAL SOCIALIST MOVEMENT,
     NATIONALIST FRONT, AUGUSTUS SOL
     INVICTUS, FRATERNAL ORDER OF THE
     ALT-KNIGHTS, MICHAEL "ENOCH"
     PEINOVICH, LOYAL WHITE KNIGHTS OF
     THE KU KLUX KLAN, and EAST COAST
     KNIGHTS OF THE KU KLUX KLAN a/k/a
     EAST COAST KNIGHTS OF THE TRUE
     INVISIBLE EMPIRE,

                                   Defendants.


       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (“FRCP”), Plaintiffs hereby

request that Defendants produce the following documents and tangible things at the offices of Boies Schiller

Flexner LLP, 575 Lexington Avenue, New York, NY 10022, no later than thirty (30) days from service of

this First Set of Requests for Production of Documents (the “Requests”), unless otherwise agreed by the

parties or required by any scheduling order entered by the Court in this action.
                                                    1
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 3 of 16 Pageid#:
                                    3204


       The Definitions and Instructions that appear below form an integral part of the Requests that follow

and must be read in conjunction with them and followed when responding to the Requests.

                                               DEFINITIONS

       In each Definition, the singular shall include the plural and the plural shall include the singular.

Terms used herein shall have the following meanings:

       1.         “Amended Complaint” means the amended complaint filed in the above-captioned litigation

as ECF docket entry number 175.

       2.         “Communication” means, in addition to its customary and usual meaning, every contact of

any nature, whether documentary, electronic, written or oral, formal or informal, at any time or place and

under any circumstances whatsoever whereby information of any nature is transmitted or transferred by any

means, including, but not limited to letters, memoranda, reports, emails, text messages, instant

messages, social media postings, telegrams, invoices, telephone conversations, voicemail messages,

audio recordings, face-to-face meetings and conversations, or any other form of correspondence, and any

Document relating to such contact, including but not limited to correspondence, memoranda, notes or logs

of telephone conversations, e-mail, electronic chats, text messages, instant messages, direct or private

messages, correspondence in “meet ups” or chat rooms, and all other correspondence on Social Media.

Without limiting the foregoing in any manner, commenting as well as any act of expression that is not

directed at a specific person, or otherwise may not be intended to provoke a response (such as a social media

posting, “likes,” “shares,” or any other form of reacting to another’s use of Social Media), are forms of

communication.

       3.         “Concerning” means, in addition to its customary and usual meaning, relating to, pertaining

to, referring to, alluding to, confirming, constituting, comprising, containing, commenting upon, responding

to, discussing,    describing,   embodying,    evaluating,   evidencing,   identifying,   in connection with,

involving, mentioning, noting, pertaining to, probative of, related to, relating to, reflecting, referring to,

                                                       2
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 4 of 16 Pageid#:
                                    3205



regarding, setting forth, supporting, stating, showing, touching upon, dealing with, assessing, recording,

bearing upon, connected with, in respect of, about, indicating, memorializing, proving, suggesting, having

anything to do with, contradicting, and summarizing in any way, directly or indirectly, in whole or in part,

the subject matter referred to in the Request.

       4.      “Document” or “Documents” means documents broadly defined in FRCP Rule 34, and

includes (i) papers of all kinds, including but not limited to, originals and copies, however made, of letters,

memoranda, hand-written notes, notebooks, work-pads, messages, agreements, rough drafts, drawings,

sketches, pictures, posters, pamphlets, publications, news articles, advertisements, sales literature,

brochures, announcements, bills, receipts, credit card statements, and (ii) non-paper information of all kinds,

including but not limited to, any computer generated or electronic data such as digital videos, digital

photographs, audio recordings, podcasts, Internet files (including “bookmarks” and browser history), online

articles and publications, website content, electronic mail (e-mail), electronic chats, instant messages, text

messages, uploads, posts, status updates, comments, “likes”, “shares”, direct messages, or any other use of

Social Media, and (iii) any other writings, records, or tangible objects produced or reproduced mechanically,

electrically, electronically, photographically, or chemically. Without limiting the foregoing in any way,

every Communication is also a Document.

       5.      “Events” means the occurrences and activities described in Paragraphs 45 to 335 of the

Amended Complaint.

       6.      “Person” means a natural person or individual, and any corporation, partnership, limited

liability company, unincorporated association, governmental body or agency, or any other form of

organization, group, or entity.

       7.      “Social Media” means any forum, website, application, or other platform on which persons

can create, transmit, share, communicate concerning, or comment upon any information, ideas, or opinions,

or otherwise engage in social networking. Without limiting the foregoing in any manner, and by way of

                                                      3
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 5 of 16 Pageid#:
                                    3206



example only, the following are social media platforms: comment sections of websites, Facebook, Discord,

Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan, Twitter, Tumblr, Youtube, and instant

messaging services such as Signal, WhatsApp, Messenger, Hangouts, or Skype. Without limiting the

foregoing in any manner, and by way of example only, the following are methods of using social media

platforms: uploading, posting, commenting, reacting (e.g., “liking” a post), and sharing.

        8.      “You,” “Your,” or “Yours” refers to the Defendants to whom the Interrogatories are

addressed and includes any persons or entities acting for them or on their behalf, including but not limited

to all representatives, servants, agents, employees, officers, affiliates, subsidiaries, parent companies, third

parties, attorneys, as well as any entities over which any of the Defendants have control.

                                             INSTRUCTIONS

        A.      These Requests are issued to each Defendant, and each individual Defendant must fully

respond, search for and produce all Documents and Communication responsive to these Requests.

        B.      Your responses to the following Requests shall be based on all knowledge and

information (whether or not hearsay or admissible) in your possession, custody, or control.

        C.      These Requests are continuing in nature. If, after making initial responses, Defendants

obtain or become aware of any further Documents responsive to the Requests, Defendants are required

to supplement their responses and provide such Documents pursuant to FRCP Rule 26(e).

        D.      If, in responding to any of the following Requests, you encounter any ambiguity or

confusion in construing either a Request or a Definition or Instruction relevant to a Request, set forth

the matter deemed ambiguous, select a reasonable interpretation that you believe resolves the

ambiguity, respond to the Request using that interpretation, and explain with particularity the

construction or interpretation selected by you in responding to the Interrogatory.

        E.      In the event any document or information is withheld on the basis of the attorney-client

privilege, work product doctrine, or any other right to non-disclosure on any other basis, furnish a list

                                                       4
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 6 of 16 Pageid#:
                                    3207



identifying the documents, communications, or information for which the protection is claimed together

with the following (if applicable): the type of document or communication; the date or dates of the

document or communication; the name, position and address of each person who participated in the

document or communication, to whom the document or communication was addressed, or to whom the

document or communication or the contents thereof have been communicated by any means; the general

subject matter of the document, communication, or information; the specific basis for nonproduction or

non-disclosure; and a description that you contend is adequate to support your contention that the

document, communication, or information may be withheld from production and/or disclosure. If a

document or communication is withheld on the ground of attorney work product, also specify whether

the document or communication was prepared in anticipation of litigation and, if so, identify the

anticipated litigation(s) upon which the assertion is based.

       F.      If You object to production in response to a specific request, You shall state with

particularity the basis for all objections with respect to such request. You should respond to all portions

of that request that do not fall within the scope of Your objection. If You object to a Request on the

ground that it is overly broad, provide such documents that are within the scope of production that You

believe is appropriate. If You object to a Request on the ground that to provide responsive documents

would constitute an undue burden, provide such responsive documents as You believe can be supplied

without undertaking an undue burden.

       G.      Whether or not You object, You must preserve all Documents and Communications

relevant to the lawsuit, including all Documents and Communications responsive to these Requests.

You must also preserve all hardware, software and log files related to databases; servers; archives;

backup or recovery disks, files and servers; networks or computer systems including legacy systems;

magnetic, optical or other storage media, including hard drives and other storage media; laptops;

personal computers; personal digital assistants; handheld wireless devices; mobile telephones; paging

                                                     5
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 7 of 16 Pageid#:
                                    3208



devices; and audio systems, including iPods. You must take every reasonable step to preserve this

information until the final resolution of this matter. This includes, but is not limited to, discontinuing all

data destruction and backup recycling policies; preserving and not disposing relevant hardware unless

an exact replica of the file is made; preserving and not destroying passwords; encryption and

accompanying decryption keys; network access codes, including login names; decompression or

reconstruction software; maintaining all other pertinent information and tools needed to access, review,

and reconstruct all requested or potentially relevant electronically stored information and data. Where

any alterations or deletions of any of the documents and data requested by the subpoena have been

made since August 11, 2017, You should provide a log detailing any changes and deletions, the

individual who made those changes and deletions, and the purpose for which the changes and deletions

were made.


       H.      Produce all responsive documents in Your possession, custody, or control, regardless of

whether such documents are possessed directly by You or persons under Your control, including Your

agents, employees, representatives, or attorneys, or their agents, employees, or representatives. To the

extent that you do not have copies of communications made or received by you that are responsive to

these requests, you must provide the consent necessary under the Stored Communications Act, see 18

U.S.C. § 2702(b)(3), to permit the providers of electronic communication services and remote

computing services, see 18 U.S.C. § 2702(a)(1)-(2), to produce the documents.

       I.      Produce each responsive document in its entirety including with all attachments or other

matters affixed thereto.

       J.      Each Document produced in response to these Requests shall be produced in accordance

with the specifications described in Exhibit A attached hereto, or as agreed by the parties or ordered by

the Court.



                                                      6
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 8 of 16 Pageid#:
                                    3209



       K.      References to any natural person shall be deemed to include that natural person’s agents,

servants, representatives, current and former employees, and successors.

       L.      References to any non-natural person (e.g., corporation, partnership, entity, membership

organizations, etc.) shall be deemed to include that non-natural person’s predecessors, successors,

divisions, subsidiaries, parents, assigns, partners, members, and affiliates, foreign or domestic, each

other person directly or indirectly, wholly or in part, owned by, controlled by, or associated with them,

and any others acting or purporting to act on their behalf for any reason, and the present and former

officers, directors, partners, consultants, representatives, servants, employees, assigns, attorneys, and

agents of any of them.

       M.      The use of the singular form of any word includes the plural and vice versa.

       N.      The use of the past tense includes the present tense and vice versa, as necessary to bring

within the scope of each request all responses that might otherwise be considered outside its scope.

Whenever a term is used herein in the present, past, future, subjunctive, or other tense, voice, or mood,

it shall also be construed to include all other tenses, voices, or moods.

       O.      The terms “and” and “or” should be construed either disjunctively or conjunctively as

necessary to bring within the scope of the discovery request all responses that might otherwise be

construed to be outside of its scope.

       P.      The word “all” means “any and all”; the word “any” means “any and all.”

       Q.      The term “including” means “including, without limitation.”

       R.      The masculine includes the feminine and neutral genders.

       S.      Unless otherwise specified, the time period to which these Requests refer is from January

1, 2015 to the present. If any document is undated and the date of its preparation cannot be determined,

the document shall be produced if otherwise responsive to any of the Requests.




                                                      7
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 9 of 16 Pageid#:
                                    3210



                                        DOCUMENT REQUESTS
REQUEST FOR PRODUCTION NO. 1:

       All Documents and Communications concerning the Events, including without limitation all

documents and communications:

          i.   concerning any preparation, planning, transportation to, or coordination for, the Events,

               including receipts, bills and credit card statements reflecting costs for transportation,

               lodging, apparel, gear, or any other material purchased for the Events;

         ii.   concerning any instructions or coordination relating to the Events, including security

               details, what to wear, what to bring, when to meet, where to meet, what to say, and any

               other logistical information or arrangements;

        iii.   that are Social Media documents concerning the Events;

        iv.    you created during the Events, including Social Media, text messages, video, and

               photographs;

         v.    concerning African Americans, Jewish individuals, or other religious, racial, or ethnic

               minorities that relate in any way to the Events;

        vi.    concerning any statement or action attributed to You in the Amended Complaint; or

        vii.   concerning any allegation of an altercation, violent act, injury, or instance of intimidation

               or harassment that occurred during the Rally, including but not limited to James Fields’

               vehicular incident; or

       viii.   concerning any funding of the Events, including for transportation, housing, food,

               weapons, uniforms, signage, tiki torches, or other materials or services used in

               connection with the Events (or the planning thereof)..

REQUEST FOR PRODUCTION NO. 2:

       All Documents and Communications concerning events, meetings, rallies, conferences, or

conversations held prior to the Events that relate to the Events in any way.




                                                     8
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 10 of 16 Pageid#:
                                     3211



REQUEST FOR PRODUCTION NO. 3:

        All Documents concerning and all Communications concerning or with East Coast Knights of

the Ku Klux Klan (or East Coast Knights of the True Invisible Empire), Fraternal Order of the Alt-

Knights, Identity Europa (or Identity Evropa), League of the South, Loyal White Knights of the Ku

Klux Klan (or Loyal White Knights Church of the Invisible Empire Inc.), Moonbase Holdings, LLC,

Nationalist Socialist Movement, Nationalist Front (or Aryan National Alliance), Traditionalist Worker

Party, Vanguard America, or any such other social group or organization that has as part of its agenda a

racial, religious, or ethnic objective.


REQUEST FOR PRODUCTION NO. 4:

        All Documents and Communications concerning violence, intimidation, or harassment of

Persons on the basis of race, religion, or ethnicity, including but not limited to, ethnic cleansing, white

genocide, a white ethno-state, or any other form of large or small scale violence.

REQUEST FOR PRODUCTION NO. 5:

        For any Social Media account You had from January 1, 2015, to the present:

          i.    Documents and Communication sufficient to show the account home page, and all uses

                of Social Media for that account that reference or concern the Events or Defendants in

                any way.

         ii.    Documents and Communication sufficient to show all Your “friends” and/or “social

                connections” maintained on Your account, including their names, addresses, and social

                network usernames or handles.




                                                      9
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 11 of 16 Pageid#:
                                     3212



REQUEST FOR PRODUCTION NO. 6:

       All Documents concerning and all Communications concerning or with any Plaintiff or

Defendant (other than You) named in the Amended Complaint, and any other Person who attended,

planned or was involved in the Events.

REQUEST FOR PRODUCTION NO. 7:

       All Documents and Communications concerning any lawsuits, claims of violence, or arrests

relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any

Defendant named in the Amended Complaint.

REQUEST FOR PRODUCTION NO. 8:

       All Documents and Communications concerning the steps you have taken to preserve

Documents and Communications relevant to the lawsuit, including the Documents and Communications

responsive to these Requests.




   Dated: January 25, 2018
          New York, NY

                                                  /s/ Philip M. Bowman
                                                  Philip M. Bowman (pro hac vice)
                                                  Yotam Barkai (pro hac vice)
                                                  Joshua J. Libling (pro hac vice)
                                                  BOIES SCHILLER FLEXNER LLP
                                                  575 Lexington Ave.
                                                  New York, NY 10022
                                                  Telephone: (212) 446-2300
                                                  Fax: (212) 446-2350
                                                  pbowman@bsfllp.com
                                                  ybarkai@bsfllp.com
                                                  jlibling@bsfllp.com

                                                  Robert T. Cahill (VSB 38562)
                                                  COOLEY LLP
                                                  11951 Freedom Drive, 14th Floor
                                                  Reston, VA 20190-5656
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Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 12 of 16 Pageid#:
                                    3213



                                    Telephone: (703) 456-8000
                                    Fax: (703) 456-8100
                                    rcahill@cooley.com

                                    Roberta A. Kaplan (pro hac vice)
                                    Julie E. Fink (pro hac vice)
                                    Christopher B. Greene (pro hac vice)
                                    Seguin L. Strohmeier (pro hac vice)
                                    KAPLAN & COMPANY, LLP
                                    350 Fifth Avenue, Suite 7110
                                    New York, NY 10118
                                    Telephone: (212) 763-0883
                                    rkaplan@kaplanandcompany.com
                                    jfink@kaplanandcompany.com
                                    cgreene@kaplanandcompany.com
                                    sstrohmeier@kaplanandcompany.com

                                    Karen L. Dunn (pro hac vice)
                                    William A. Isaacson (pro hac vice)
                                    BOIES SCHILLER FLEXNER LLP
                                    1401 New York Ave, NW
                                    Washington, DC 20005
                                    Telephone: (202) 237-2727
                                    Fax: (202) 237-6131
                                    kdunn@bsfllp.com
                                    wisaacson@bsfllp.com

                                    Alan Levine (pro hac vice)
                                    COOLEY LLP
                                    1114 Avenue of the Americas, 46th Floor
                                    New York, NY 10036
                                    Telephone: (212) 479-6260
                                    Fax: (212) 479-6275
                                    alevine@cooley.com

                                    David E. Mills (pro hac vice)
                                    COOLEY LLP
                                    1299 Pennsylvania Avenue, NW
                                    Suite 700
                                    Washington, DC 20004
                                    Telephone: (202) 842-7800
                                    Fax: (202) 842-7899
                                    dmills@cooley.com

                                    Counsel for Plaintiffs




                                      11
 Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 13 of 16 Pageid#:
                                     3214


                                          EXHIBIT A

1.   PRODUCTION FORMAT

     a)    To avoid the production of more than one copy of a unique item, use industry standard
           MD5 or SHA-1 hash values to de-duplicate all files identified for production. Loose e-
           files will not be compared to email attachments for de-duplication purposes. Hard copy
           documents containing handwritten notes will not be considered as duplicative of any other
           document.

     b)    Where documents with attachments are produced, they will be attached in the same
           manner as included in the original file. Where documents are produced and all
           attachments thereto are not included, identify the missing attachments by means of a
           “place holder” file, and explain the reason for their non-production. Documents that are
           segregated or separated from other documents, whether by inclusion of binders, files,
           dividers, tabs, clips or any other method, will be produced in a manner that reflects these
           divisions. If any portion of a document is responsive, the entire document should be
           submitted. Do not redact any non-privileged content from any document absent a
           separate agreement.

     c)    Productions should be delivered on an external hard drive, CD, DVD, or via FTP (or other
           secure online transfer). If a delivery is too large to fit on a single DVD, the production
           should be delivered on an external hard drive or via FTP upon agreement with
           Defendants.

     d)    Documents shall be produced as Bates-stamped tagged image file format (“TIFF”) images
           accompanied by an image load file, a data load file with fielded metadata, document-level
           extracted text for ESI, and optical character recognition (“OCR”) text for scanned hard
           copy documents and ESI that does not contain extractable text. Detailed requirements,
           including files to be delivered in native format, are below.

     e)    TIFF Image Requirements

           a.     TIFF images will be produced in black and white, 300x300 dpi Group IV single-
                  page format and should be consecutively Bates-stamped.

           b.     Images will include the following content where present:

                  i.      For word processing files (e.g., Microsoft Word): Comments, “tracked
                          changes,” and any similar in-line editing or hidden content.

                  ii.     For presentation files (e.g., Microsoft PowerPoint): Speaker notes,
                          comments, and all other hidden content.

                  iii.    For spreadsheet files (e.g., Microsoft Excel): Hidden columns, rows, and
                          sheets, comments, “tracked changes,” and any similar in-line editing or
                          hidden content.

     f)    Native Production Requirements
                                                12
Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 14 of 16 Pageid#:
                                    3215


          a.    Spreadsheet files (e.g., Microsoft Excel and .Csv files) and presentation files (e.g.
                Microsoft PowerPoint) should be provided in native format.

                i.     In lieu of a full TIFF image version of each native file, a single placeholder
                       image bearing the relevant bates number and confidentiality designation
                       should be produced.

                ii.    When redaction is necessary, a redacted full TIFF version may be
                       produced provided that the document is manually formatted for optimal
                       printing. If the file requiring redaction is not reasonably useable in TIFF
                       format, the parties will meet-and-confer to determine a suitable production
                       format.

                iii.   If redactions within a native file are necessary, the parties will meet-and-
                       confer prior to productions and provide a means to identify such
                       documents in the production.

          b.    Media files (e.g., .mp3, .wmv, etc.) will be produced in native format.

          c.    The parties will meet-and-confer to discuss a suitable production format for any
                proprietary or non-standard file types that require special software or technical
                knowledge for review.

          d.    The parties will meet-and-confer to discuss a suitable production format for any
                databases or database reports.

          e.    Any files that cannot be accurately rendered in a reviewable TIFF format should
                be produced in native format.

          f.    Defendants reserve the right to request native or color copies of any documents
                that cannot be accurately reviewed in black and white TIFF format. Reasonable
                requests for native or color documents should not be refused.

    g)    Load File Requirements

          a.    A Concordance compatible data load file should be provided with each production
                volume and contain a header row listing all of the metadata fields included in the
                production volume.

          b.    Image load files should be produced in Concordance/Opticon compatible format.

    h)    Extracted Text/OCR Requirements

          a.    Electronically extracted text should be provided for documents collected from
                electronic sources. Text generated via OCR should be provided for all documents
                that do not contain electronically extractable text (e.g., non-searchable PDF files
                and JPG images) and for redacted and hard copy documents. Do not to degrade
                the searchability of document text as part of the document production process.


                                              13
Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 15 of 16 Pageid#:
                                    3216


          b.     Document text should be provided as separate, document-level text files and not
                 be embedded in the metadata load file.

          c.     Text files should be named according to the beginning bates number of the
                 document to which they correspond.

          d.     If a document is provided in native format, the text file should contain the
                 extracted text of the native file.

          e.     A path to each extracted text file on the delivery media should be included in a
                 load file field, or in a separate cross-reference file.

    i)    Produce all metadata fields listed in Appendix 1 if available.




                                               14
Case 3:17-cv-00072-NKM-JCH Document 354-2 Filed 10/02/18 Page 16 of 16 Pageid#:
                                    3217


                                           APPENDIX 1

         Field                                         Comments
      BegBates        Beginning Bates number
      EndBates        Ending Bates number
      BegAttach       Bates number of the first page of a family range
      EndAttach       Bates number of the last page of a family range
      PageCount       Number of pages in a Document.
      FileExtension   Original file extension as the document was maintained in the ordinary
                      course
      FileSize        File size in bytes
      DocTitle        Document title as stored in file metadata
      Custodian       Custodian full name
      Author          Document author information for non-email
      From            Email FROM
      To              Email TO
      Cc              Email CC
      BCC             Email BCC
      Subject         Email Subject
      Attachments     Name of attached file(s) as maintained in the ordinary course of business

      DateCreated     File date created MM/DD/YYYY
      DateModified    File date modified MM/DD/YYYY
      DateSent        Email date sent MM/DD/YYYY
      TimeSent        Email time sent HH:MM:SS AM/PM
      DateReceived    Email date received MM/DD/YYYY
      TimeReceived    Email time received HH:MM:SS AM/PM
      FileName        Name of the file as maintained in the ordinary course of business with
                      extension
                      .
      MD5Hash         The computer-generated MD5 Hash value for each document
      NativePath      The path to the native-format file corresponding to each record on the
                      delivery media, including the file name (if a native-format file is provided)

      TextPath        The path to the corresponding text file for each record on the delivery
                      media, including filename




                                                  15
